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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO: 0-20-CV-61872-AHS

  ALAN DERSHOWITZ,

            Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

        Defendant.
  _______________________________/

             JOINT MOTION TO SEAL HEARING TRANSCRIPT (ECF 105) PENDING
                                   REDACTIONS

             Plaintiff, ALAN DERSHOWITZ (“Plaintiff” or “Dershowitz”) and Defendant CABLE

  NEWS NETWORK, INC.’s (“CNN” or “Defendant”) jointly move this court for an order sealing

  the transcript from the April 21, 2022 hearing that took place before this court pending redactions.

  The parties further move the court for leave to file a motion (under seal) to redact that will identify

  the specific portions to be redacted and or sealed, thereafter allowing the remainder of the transcript

  to be publicly available.

  Date: April 29, 2020.




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